Case 6:14-cV-02448-P.]H Document 132 Filed 08/30/16 Page 1 of 9 Page|D #: 3941

R E C El VE D
UNrrar) srArEs DIsrRicr coURr
AUG 3 0 2016 U,Z/
WEerRN DrsrRicr oF LoursrANA
T NY a, Moo E, cLEFu<
TEHN m
LAFA¥E§¥§*,CLBBTSHR§£S'“"A LAFAYETTE DivisroN
iBERIABANK CivIL AcrioN No. 6114_cv-2443
v_ JUDGE DoHERrY
DARRYL R. BRoUs sARr), Er AL. MAGISTRATE JUDGE WHrrEHURsr

MEMORANDUM RULING

Currently pending before the Court is a motion for partial Summary judgment [Doc. 111],
filed by plaintiff/counter-defendant IBERIABANK. Pursuant to its motion, IBERlABANK seeks
dismissal ofdefendant/counter~plaintiffDarryl R. Broussard’ s claim for Intentional Interference With
Business Relations.
I. Factual and Procedural Background

IBERIABANK filed this suit against Darryl R. Broussard, alleging multiple claims arising
out of Mr. Broussard’s actions during his employment With IBERIABANK and its predecessor
Teche Federal Bank (“Teche”). IBERIABANK is the successor to Teche, following the May 31,
2014 merger of the two banks [Doc. 57-1, if l; Doc. 69-1, ii 1] Broussard served as the Senior Vice
President and Chief Lending Ofticer of Teche prior to the merger. [ld. at 1Hl 2]

On January 12, 2014, Broussard entered into an “Ernployment Agreement” With
IBERIABANK. The Employrnent Agreement provided that as of the merger date, Broussard’s
employment With Teche Would end and he Would become an employee of IBERIABANK. [Doc.

111-3, p. l] The agreement further provided Broussard’s employment With IBERIABANK Would

Page 1 of 9

Case 6:14-cV-O2448-P.]H Document 132 Filed 08/30/16 Page 2 of 9 Page|D #: 3942

end on the “Conversion date,” Which Was the date upon Which IBERIABANK completed the
conversion of Teche’s branch and operating systems1 [Doc. lll-3, pp. l, 2] The Employment
Agreement contains certain non-competition, non-solicitation and non-recruitment clauses,
restricting the foregoing activities for a period of two months following the end of the employment
relationship [ld. at 4] HoWever, the Ernployment Agreement further provided that in the event
Broussard violated any provision of the agreement, the post-employment period of the restrictive
covenants Was to run from the later of: (l) the date upon Which the violation ceased, or (2) the date
of any final, non-appealable judgment or settlement of a legal proceeding to enforce or uphold any
provision of the agreement [ld. at 5]

In April 2014, Broussard and Boyd R. Boudreaux, President of JD Banl<, began discussing
l\/lr. Broussard going to Work for JD Banl<. [Doc. 57-1, p. 4; Doc. 69-1, pp. 4-5] On May l, 2014,
Broussard accepted the position of Acadiana Market President With JD Bank, to commence after his
employment With IBERIABANK ended. [Doc. 69-2, p. 328; Doc. 57-11, pp. 2-5] ]n l\/lay 2014,
Broussard deleted numerous digital files from the Teche computer network. [Doc. l l l-l , p. 3; Doc.
l 11-6, pp. 2-6] Thereafter, IBERIABANK became suspicious of Broussard’s activities and hired an
outside firm to conduct an investigation [Doc. 57-17, p. ll] On July 3, 2014, following the
investigation, IBERIABANK terminated Broussard’ s employment for cause. [Doc. l 1 l-l , p. 2 ; Doc.

57-17, p. 12] The same day, IBERIABANK commenced an arbitration action against Broussard,

 

lThe term of Broussard’s employment could end earlier than the Conversion date under the
following circumstances: (l) the parties mutually agreed to end Broussard’s employment earlier, (2) upon
the death of Broussard, (3) if Broussard Were terminated by IBERIABANK; (4) if Broussard terminated
his employment; or (5) by operation of law (i.e. if an order issued under the Federal Deposit lnsurance
Act removing or permanently prohibiting Broussard from participating in the conduct of the Bank’s
affairs). [Doc. lll-3, pp. 2, 6-7]

Page 2 of 9

Case 6:14-cV-O2448-P.]H Document 132 Filed 08/30/16 Page 3 of 9 Page|D #: 3943

asserting claims for breach of contract, breach of statutory fiduciary duties, and fraud. [ld. at 3', Doc.
116-3, pp. 13-16] On July 7, 2014, counsel for IBERIABANK sent correspondence to Boyd
Boudreaux of JD Bank, enclosing the arbitration demand against Broussard and requesting Mr.
Boudreaux, JD Bank and its affiliates “take all appropriate steps to ensure the preservation and
retention . . . of all documents” that might be relevant to the claims set forth in the arbitration [Doc.
lll-l, p. 3; Doc. 116~3, p. 4]

On August 7, 2014, IBERIABANK brought suit against Broussard in this Court, asserting
claims not covered-by the arbitration agreement On February 3, 2015, the parties jointly moved to
dismiss the arbitration proceedings, and all claims Were brought before this Court. [Doc. 57-1, 11 15 ;
Doc. 69-1, 1[ 15 ] Following multiple amendments and supplementations to the pleadings by both
parties, the claims currently asserted by IBERIABANK against Broussard are: (l) Violation of the
Computer Fraud and Abuse Act, 18 U.S.C. § 1030, (2) Material Breach of the Change ln Control
Severanee Agreement, (3) Breach of F iduciary Duties, and (4) Unfair Trade Practices. [Doc. 23 ; Doc.
107] The counterclaims now asserted by Broussard against IBERIABANK are for: (l) breach of
contract, (2) attorney’s fees, and (3) intentional interference with business relations [Doc. 8, Doc.
26, Doc. 96]

II. Summal'y Judgment Standard

“A party may move for summary judgment, identifying each claim or defense - or the part
of each claim or defense - on which summary judgment is sought.” Fed.R.Civ.P. 56(a). “The court
shall grant summary j udgment if the movant shows that there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.” Id.

Page 3 of 9

 

 

Case 6:14-cV-O2448-P.]H Document 132 Filed 08/30/16 Page 4 of 9 Page|D #: 3944

A party asserting that a fact cannot be or is genuinely disputed must support the assertion by:
(A) citing to particular parts of materials in the record, including depositions,
documents, electronically stored information, affidavits or declarations, stipulations
(including those made for purposes of the motion only), admissions, interrogatory
answers, or other materials ; or

(B) showing that the materials cited do not establish the absence or presence of a
genuine dispute, or that an adverse party cannot produce admissible evidence to
support the fact.
Id. at § (c)(l).
As summarized by the Fifth Circuit:
When seeking summary jud gment, the movant bears the initial responsibility
of demonstrating the absence of an issue of material fact with respect to those issues
on which the movant bears the burden of proof at trial. However, where the
nonmovant bears the burden of proof at trial, the movant may merely point to an
absence of evidence, thus shifting to the non-movant the burden of demonstrating by
competent summary judgment proof that there is an issue of material fact warranting
trial. Only when “there is suchient evidence favoring the nonmoving party for a jury
to return a verdict for that party” is a full trial on the merits warranted Anderson v.
Liberty Lobby, Inc., 477 U.S. 242, 249 (1986).
Lindsey v. Sears Roebuck and CO., 16 F.3d 616, 618 (Sth Cir.1994)(internal Citations omitted).
Finally, in evaluating evidence to determine whether a factual dispute exists, “credibility
determinations are not part of the summary judgment analysis.” Little v. Liquia’Air Corp., 37 F.3d
1069, 1075 (5th Cir.1994). To the contrary, “[i]n reviewing all the evidence, the court must disregard
all evidence favorable to the moving party that the jury is not required to believe, and should give
credence to the evidence favoring the nonmoving party as well as that evidence supporting the

moving party that is uncontradicted and unimpeached.” Roberts v. Cardinal Servs. , 266 F.3d 368,

373 (5&‘ Cir.ZOOl).

Page 4 of 9

 

Case 6:14-cV-O2448-P.]H Document 132 Filed 03/30/16 Page 5 of 9 Page|D #: 3945

III. Applicable Law

The Louisiana Supreme Court recognizes a cause of action for tortious interference with
business arising under La. Civ. Code art. 2315. Dussouy v. GulfCoast Inv. Corp. , 660 F.2d 5 94, 601
(5“‘ Cir. 1981)(citing Graham v. Sr. Ckarles Sr. Railroad, 18 So. 707 (La. 1895)). “ln Louisiana, the
delict is based on the principle that the right to influence others not to deal is not absolute.” Junfor
Money Bags, er. v. Segal, 970 F.2d l, 10 (5“‘ Cir. 1992). “Louisiana law protects the businessman
from ‘malicious and wanton interference,’ permitting only interferences designed to protect a
legitimate interest of the actor.” Id. (quoting Dussouy at 601). To succeed on such a claim, a plaintiff
must show by a preponderance of the evidence that the defendant improperly influenced others not
to deal with plaintiff Ia'. Multiple lower courts have found, “lt is not enough to allege defendant’s
actions affected the plaintiffs business interests; the plaintiff must allege that the defendant Mally
prevented the plaintiff from dealing with a third party.” See e. g. H anderson v. Bafley Bark Materz'als,
116 So.3d 30, 37 (La. App. 2 Cir. 2013) (emphasis added); St. Larzdry Homestead F ederal Sav. Bank
v. thrine, 118 So.3d 470, 490 (La. App. 3 Cir. 2013); Marshall Invesrmenrs Corp. v. R.P. Carbone
Co., 2006 WL 2644959, *5 (E.D.La.).

Louisiana jurisprudence views this cause of action with disfavor. Henderson at 37; .]CD
Mki‘g. CO. v. Bass Hotels andResorrs, Inc., 812 So.2d 834, 841 (La. App. 4 Cir. 2002). “Louisiana
courts have limited this cause of action by imposing a malice element, which requires that the
plaintiff show the defendant acted with actual malice.” JCD Mkrg. at 841 (citing Dussouy at 602).

Although its meaning is not perfectly clear, the malice element seems to require a

showing of spite or ill will, Which is difficult (if not impossible) to prove in most

commercial cases in which conduct is driven by the profit motive, not by bad

feelings In fact, there appear to be no reported cases in which anyone actually has
been held liable for the tort.

Page 5 of 9

 

Case 6:14-cV-O2448-P.]H Document 132 Filed 03/30/16 Page 6 of 9 Page|D #: 3946

Id. (quoting George Denegre, Jr., et al., Tortz'ous Interj%rence and Unfaz`r Trade Clcrims.' Louisiana's
Elusz`ve Remediesfor Business lnterjerence, 45 Loy. L. Rev. 395, 401 (1999)).
IV. Analysis

A. Whether there is a genuine dispute that IBERIABANK improperly influenced
JD Bank from dealing With Broussard

Broussard argues IBERIABANK improperly influenced JD Bank not to deal With Broussard
by sending JD Bank a litigation hold letter and attaching a copy of the arbitration demand against
Broussard four days after Broussard’s termination [Doc. 116, p. 6] According to BroussardJ
“IBERIABANK could have merely sent Boudreaux a ‘routine litigation hold letter”’ and not
enclosed the arbitration demand “that accused Broussard of ‘numerous acts of disloyalty,’ ‘personal
dishonesty,’ and ‘willful misconduct ’ ” [ld. at 6] Broussard further contends by sending the litigation
hold letter with the attached arbitration demand, lBERlABANK “foreshadowed JD Bank’s
involvement in the litigation but never made JD Bank a party.” [ld. at 7] Thus, Broussard argues a
genuine issue of material fact exists as to whether lBERIABANK sent Boudreaux the litigation hold
letter and arbitration demand “to improperly influence JD Bank to stay far away from Broussard, and
not to protect some business interest.” [Id.]

lBERlABANK responds it “did nothing more than institute a lawsuit against Broussard . .
., based on a good~faith belief (later confirmed in discovery) that Broussard . . . had deleted Teche’s
digital data,” and states it took no coercive action to prevent Broussard from negotiating for a
position at .lD Bank. [Doc. 111-2, p. 5] lBERIABANK notes Broussard testiHed he had informed
Boudreaux of the arbitration suit as early as July of 2014, which was prior to lBERlABANK’s

transmission of the arbitration demand to JD Bank_ [Doc. 1 1 1-7, p. 12] lBERlABANK further notes

Page 6 of 9

Case 6:14-cV-O2448-P.]H Document 132 Filed 03/30/16 Page 7 of 9 Page|D #: 3947

on lanuary 16, 2015, after it filed this suit against Broussard, it agreed to an amendment of the
Employment Agreement, which removed the prohibition against Broussard accepting employment
with lBERIABANK competitors [ld.] According to the bank, this fact “actually enabled Broussard’s
going to work for JD Bank. . . .” [ld.] IBERIABANK additionally notes according to Broussard’s
counterclaim, in March 201 5 - i.e., approximately eight months after lBERlBANK sent JD Bank the
arbitration demand - Broussard was in negotiations with JD Bank for a position as Chief Lending
Officer.2 [Doc. 111-2 at 6] Thus, IBERIABANK concludes it did not improperly interfere with
Broussard’s negotiatiations With JD Bank, as “[a]t most, JD Bank’s decision not to hire Broussard
was an ‘incidental effect’ of the legal proceedings which is insufficient to support an intentional
interference cause of action.” [ld.]

To summarize, Broussard has pointed to a litigation hold letter, accompanied by an
arbitration demand, as the basis for his claim that lBER_lABANK improperly influenced JD Bank
from dealing with Broussard. The litigation hold letter requested that JD Bank retain and preserve
all documents relating to the claims set forth in the arbitration demand; thus, the grounds for the
arbitration demand Were pivotal to the request of the litigation hold. Additionally, the Court finds
at the time IBERIABANK sent the letter to JD Bank, it had a good-faith, reasonable belief that
Broussard had improperly handled IBERIABANK’ s proprietary data and potentially shared that data
with lBERlABANK’s competitor JD Bank. Louisianalawpermits “interferences designed to protect
a legitimate interest of the actor.” Jurzior' Money Bags at 10. The Court finds lBERlABANK’s

request that JD Bank preserve information relating to claims regarding the misuse of

 

2While Broussard does admit he was in negotiations with .lD Bank in March 2015 for the
position of Chief Lending Ofticer, Broussard qualities, “ID Bank again conditioned the offer on a speedy
dismissal of lBERIABANK’s suit against Mr. Broussard.” [Doc. 43, 11 25]

Page 7 of 9

 

 

Case 6:14-cV-O2448-P.]H Document 132 Filed 03/30/16 Page 3 of 9 Page|D #: 3943

IBERIABANK’s proprietary information is an interference “designed to protect a legitimate interest”
of IBERIABANK. Junior Money Bags at 10. The Court further finds Broussard has pointed to no
“improper” influence exerted by IBER_IABANK upon JD Bank. Rather, any interference by
IBERIABANK to Broussard’s dealings with ID Bank was an incidental effect of the actions taken
by IBERIABANK in an effort to protect its legitimate interest in safeguarding its proprietary data.

B. Whether a genuine issue exists With regard to whether IBERIABANK acted
with malice '

Broussard contends malice can be inferred in this matter, based on the following two events
First, Broussard contends one month after lBERIABANK fired him and filed the arbitration
proceeding, it then filed suit in this Court, accusing “Broussard of ‘stealing’ thousands of
confidential and proprietary files when it had absolutely no evidence in support of such a claim.”3
[Doc, 116, p. 8] According to Broussard, “malice may be inferred from lBERlABANK’s lack of
probable cause for claiming Brousard had stolen proprietary inforrnation.”4 [ld.] Second, Broussard
contends the fact that IBERIABANK did not seek a temporary restraining order or preliminary
injunction “to stop Broussard’s use and or disclosure of such information” shows there was “no truth
or urgency to the allegations,” and on these facts, malice may be inferred [ld. at 8-9]

IBERIABANK responds that it will show at trial that Broussard deleted many propietary
documents belonging to IBERIABANK. [Doc. 120-1, p. 4] ln support, IBERIABANK cites to

Broussard ’s testimony where Bro ussard confirms he deleted many e-mails, documents, production

 

3The Court notes Broussard does _iQt argue IBERIABANK sent a copy of the complaint filed in
this Court to JD Bank.

4Broussard argues in his brief that “malice may be inferred from the lack of probable cause. . . .”
[Doc. 116, p. 5 (quoting Via'rz`ne v. U.S., 2012 WL 253124, *47 (W.D.La.)] However, the jurisprudence
upon which he relies in support of that position is taken from malicious prosecution cases

Page 8 of 9

Case 6:14-cV-O2448-P.]H Document 132 Filed 03/30/16 Page 9 of 9 Page|D #: 3949

reports, employee evaluations, and other data containing confidential information and customer
information, without the permission of IBERIABANK. [Doc. 111-6, pp, 2-6] With regard to
injunctive relief, IBERIABANK argues there was no need to seek same, as JD Bank was cooperating
with IBERIABANK and, in fact, returned all confidential data it located to IBERIABANK.5 Under
these facts, the Court finds Broussard has not shown IBERIABANK acted with malice.
V. Conclusion

F or the reasons provided above, lBERlABANK’s motion for partial summary judgment is
GRANTED, and Broussard’s claim for intentional interference With business relations is
DISMlS SED.

THUS DONE AND SIGNED in Lafayette, Louisiana, this Y day of August, 2016.

liil t fifty

REBECC F."l§oH'ERTY
UNITE srArEs DIsTchr JUD

 

5The Court notes the data ID Bank returned was taken by a co-employee of Broussard’s at
IBERIABANK; it was not, however, taken by Broussard.

Page 9 of 9

